                 Case 2:18-cv-09831-MWF-MAA Document 1 Filed 11/21/18 Page 1 of 20 Page ID #:1



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                     7      Los Angeles, CA 90025
                            Telephone: 310-909-8000
                     8      Facsimile: 310-909-8001
                     9      Attorneys for Defendant NAVIENT SOLUTIONS, LLC f/k/a NAVIENT
                            SOLUTIONS, INC.
                   10
                   11                            UNITED STATES DISTRICT COURT
                   12                          CENTRAL DISTRICT OF CALIFORNIA
                   13                                   WESTERN DIVSION
                   14       SIMON SINGH, an individual,               Case No. ______________
                   15                   Plaintiff,                    (Honorable                      ,
                                                                      Courtroom “___”)
                   16             vs.
                                                                      NOTICE OF REMOVAL
                   17       NAVIENT SOLUTIONS, INC., and              PURSUANT TO 28 U.S.C. §§ 1331,
                            DOES 1 through 10, inclusive,             1367, 1441, AND 1446
                   18
                                        Defendants.
                   19
                   20
                   21                                                 Removal Filed: 11/21/18
                                                                      Motion Cut-Off:     Not Set
                   22                                                 Discovery Cut-Off: Not Set
                   23
                   24            TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD
                   25       HEREIN:
                   26            1.     Pursuant to 28 U.S.C. §§ 1331, 1367, 1441, and 1446, Defendant
                   27       Navient Solutions, LLC f/k/a Navient Solutions, Inc. (“NSL”), hereby removes to
                   28                                             1
                                                           NOTICE OF REMOVAL
HINSHAW & CULBERTSON LLP                                                                 Case No. ______________
     11601 Wilshire Blvd.
          Suite 800                                                                             302836352v1 1014387
    Los Angeles, CA 90025
        310-909-8000
                 Case 2:18-cv-09831-MWF-MAA Document 1 Filed 11/21/18 Page 2 of 20 Page ID #:2



                     1      this Court the above-captioned action from the Superior Court for the State of
                     2      California, County of Los Angeles. In support of this Notice of Removal, NSL
                     3      states the following:
                     4      I.    STATEMENT OF THE CASE
                     5                   1.     On or about October 11, 2018, Plaintiff Simon Singh
                     6      (“Plaintiff”) filed a civil complaint against NSL in the Superior Court for the State
                     7      of California, County of Los Angeles, styled as Simon Singh v. Navient Solutions,
                     8      Inc., Case No. 18STLC12890. A true and accurate copy of Plaintiff’s Complaint is
                     9      attached hereto as Exhibit 1.
                   10                    2.     Plaintiff’s Complaint alleges NSL violated the Telephone
                   11       Consumer Protection Act (“TCPA”) 47 U.S.C. §§ 227, et seq. and the Rosenthal
                   12       Fair Debt Collection Practices Act (“RFDCPA”), Cal. Civ. Code §§ 1788, et seq.
                   13       II.   BASES FOR REMOVAL
                   14             A.     Federal Question Jurisdiction
                   15                    1.     United States district courts have federal question jurisdiction
                   16       over “all civil actions arising under the Constitution, laws or treaties of the United
                   17       States.” 28 U.S.C. § 1331. This Court has jurisdiction under 28 U.S.C. § 1331
                   18       because this action arises under the laws of the United States.1
                   19                    2.     The general rule is that a case meets the “arising under” standard
                   20       if it is apparent that federal law creates the plaintiff’s cause of action from the face
                   21       of the complaint. See Empire HealthChoice Assur., Inc. v. McVeigh, 547 U.S. 677,
                   22       701 (2006); Franchise Tax Bd. of State of Cal. v. Constr. Laborers Vacation Trust
                   23       for So. Cal., 463 U.S. 1, 27-28 (1983).
                   24
                   25
                   26
                   27
                            1
                             NSL reserves the right to seek to compel arbitration to the extent a valid arbitration
                            agreement exists between the parties.
                   28                                                2
                                                               NOTICE OF REMOVAL
HINSHAW & CULBERTSON LLP                                                                         Case No. ______________
     11601 Wilshire Blvd.
          Suite 800                                                                                     302836352v1 1014387
    Los Angeles, CA 90025
        310-909-8000
                 Case 2:18-cv-09831-MWF-MAA Document 1 Filed 11/21/18 Page 3 of 20 Page ID #:3



                     1      this Court the above-captioned action from the Superior Court for the State of
                     2      California, County of Los Angeles. In support of this Notice of Removal, NSL
                     3      states the following:
                     4      I.    STATEMENT OF THE CASE
                     5                   1.     On or about October 11, 2018, Plaintiff Simon Singh
                     6      (“Plaintiff”) filed a civil complaint against NSL in the Superior Court for the State
                     7      of California, County of Los Angeles, styled as Simon Singh v. Navient Solutions,
                     8      Inc., Case No. 18STLC12890. A true and accurate copy of Plaintiff’s Complaint is
                     9      attached hereto as Exhibit 1.
                   10                    2.     Plaintiff’s Complaint alleges NSL violated the Telephone
                   11       Consumer Protection Act (“TCPA”) 47 U.S.C. §§ 227, et seq. and the Rosenthal
                   12       Fair Debt Collection Practices Act (“RFDCPA”), Cal. Civ. Code §§ 1788, et seq.
                   13       II.   BASES FOR REMOVAL
                   14             A.     Federal Question Jurisdiction
                   15                    1.     United States district courts have federal question jurisdiction
                   16       over “all civil actions arising under the Constitution, laws or treaties of the United
                   17       States.” 28 U.S.C. § 1331. This Court has jurisdiction under 28 U.S.C. § 1331
                   18       because this action arises under the laws of the United States.1
                   19                    2.     The general rule is that a case meets the “arising under” standard
                   20       if it is apparent that federal law creates the plaintiff’s cause of action from the face
                   21       of the complaint. See Empire HealthChoice Assur., Inc. v. McVeigh, 547 U.S. 677,
                   22       701 (2006); Franchise Tax Bd. of State of Cal. v. Constr. Laborers Vacation Trust
                   23       for So. Cal., 463 U.S. 1, 27-28 (1983).
                   24
                   25
                   26
                   27
                            1
                             NSL reserves the right to seek to compel arbitration to the extent a valid arbitration
                            agreement exists between the parties.
                   28                                                2
                                                               NOTICE OF REMOVAL
HINSHAW & CULBERTSON LLP                                                                         Case No. ______________
     11601 Wilshire Blvd.
          Suite 800                                                                                     302836352v1 1014387
    Los Angeles, CA 90025
        310-909-8000
                 Case 2:18-cv-09831-MWF-MAA Document 1 Filed 11/21/18 Page 4 of 20 Page ID #:4



                     1                   3.     The second cause of action in Plaintiff’s Complaint alleges
                     2      violations of a federal statute—namely, the TCPA. See Exhibit 1. Plaintiff’s action
                     3      therefore arises under federal law.
                     4                   4.     Accordingly, this Court has federal question jurisdiction over
                     5      Plaintiff’s TCPA claim.
                     6             B.    Supplemental Jurisdiction
                     7                   1.     Under 28 U.S.C. § 1367(a), “the district courts shall have
                     8      supplemental jurisdiction over all other claims that are so related to claims in the
                     9      action within such original jurisdiction that they form part of the same case or
                   10       controversy.”
                   11                    2.     Plaintiff’s first cause of action for alleged violations of the
                   12       RFDCPA relates to the same alleged loan/debt telephone communications, and is
                   13       based on the same set of factual allegations, as Plaintiff’s second cause of action
                   14       arising under the TCPA. Therefore, Plaintiff’s TCPA and RFDCPA claims are so
                   15       related that they form part of the same case or controversy.
                   16                    3.     Accordingly, this Court has supplemental jurisdiction over
                   17       Plaintiff’s RFDCPA claim.
                   18       III.   ALL PROCEDURAL REQUIREMENTS HAVE BEEN SATISFIED
                   19                    1.     28 U.S.C. § 1446(b) provides that “[t]he notice of removal of a
                   20       civil action or proceeding shall be filed within 30 days after receipt by the
                   21       defendant, through service or otherwise, of a copy of the initial pleading …” 28
                   22       U.S.C. § 1446(b).
                   23                    2.     This action was commenced in the Superior Court for the State
                   24       of California, County of Los Angeles, on October 11, 2018. NSL was served on
                   25       October 22, 2018. A copy of the Notice of Service of Process from NSL’s
                   26       registered agent is attached hereto as Exhibit 2. Removal of this action is timely as
                   27
                   28                                                   3
                                                               NOTICE OF REMOVAL
HINSHAW & CULBERTSON LLP                                                                         Case No. ______________
     11601 Wilshire Blvd.
          Suite 800                                                                                     302836352v1 1014387
    Los Angeles, CA 90025
        310-909-8000
                 Case 2:18-cv-09831-MWF-MAA Document 1 Filed 11/21/18 Page 5 of 20 Page ID #:5



                     1      this notice is being filed within thirty days of NSL being purportedly served with the
                     2      Complaint.
                     3                   3.     Additionally, venue properly lies in the Central District of
                     4      California because the Los Angeles County Superior Court where Plaintiff
                     5      commenced this action is located within this Court’s jurisdiction.
                     6                   4.     In accordance with 28 U.S.C. § 1446(d), written notice of the
                     7      filing of this removal notice will be given to Plaintiff following the filing of this
                     8      Notice of Removal, and will be promptly filed with the clerk of the Los Angeles
                     9      County Superior Court.
                   10                    5.     In submitting this Notice of Removal, NSL reserves all defenses,
                   11       including but not limited to the right to seek to compel arbitration.
                   12       IV.   CONCLUSION
                   13             WHEREFORE, NSL hereby removes this action from the Superior Court for
                   14       the State of California, County of Los Angeles, to the United States District Court
                   15       for the Central District of California.
                   16
                   17
                            DATED: November 21, 2018                        HINSHAW & CULBERTSON LLP
                   18
                   19                                                 By: s/Elvin I. Tabah
                                                                          DENNIS N. LUECK, JR.
                   20                                                     ELVIN I. TABAH
                                                                          Attorneys for Defendant NAVIENT
                   21                                                     SOLUTIONS, LLC f/k/a NAVIENT
                                                                          SOLUTIONS, INC.
                   22
                   23
                   24
                   25
                   26
                   27
                   28                                                   4
                                                               NOTICE OF REMOVAL
HINSHAW & CULBERTSON LLP                                                                         Case No. ______________
     11601 Wilshire Blvd.
          Suite 800                                                                                     302836352v1 1014387
    Los Angeles, CA 90025
        310-909-8000
                Case 2:18-cv-09831-MWF-MAA Document 1 Filed 11/21/18 Page 6 of 20 Page ID #:6



                     1                                CERTIFICATE OF SERVICE
                     2                         Simon Singh vs. Navient Solutions, Inc., et al.
                     3                                  Case No. : ___________

                     4      STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
                                   I am a citizen of the United States and employed in Los Angeles, California,
                     5      at the office of a member of the bar of this Court at whose direction this service was
                            made. I am over the age of 18 and not a party to the within actions; my business
                     6      address is 11601 Wilshire Blvd., Los Angeles, California 90025.
                     7             On November 21, 2018, I served the document(s) entitled, NOTICE OF
                            REMOVAL PURSUANT TO 28 U.S.C. §§ 1331, 1367, 1441, AND 1446, on the
                     8      interested parties in this action by placing true copies thereof enclosed in a sealed
                            envelope(s) addressed as stated below:
                     9                               SEE ATTACHED SERVICE LIST
                   10           (BY MAIL): I deposited such envelope in the mail at Los Angeles, California
                            with postage fully prepaid. I am readily familiar with this firm’s practice of
                   11       collection and processing correspondence for mailing. Under that practice it would
                            be placed for collection and mailing, and deposited with the U.S. Postal Service on
                   12       that same day with postage thereon fully prepaid at Los Angeles, California, in the
                            ordinary course of business. I am aware that on motion of party served, service is
                   13       presumed invalid if postal cancellation date or postage meter date is more than 1 day
                            after date of deposit for mailing in affidavit.
                   14           (VIA OVERNIGHT MAIL):                I am "readily familiar" with the firm's
                            practice of collection and processing correspondence for overnight delivery. Under
                   15       that practice it would be deposited in a box or other facility regularly maintained by
                            the express service carrier, or delivered to an authorized courier or driver authorized
                   16       by the express service carrier to receive documents, in an envelope or package
                            designated by the express service carrier with delivery fees paid or provided for,
                   17       addressed to the person on whom it is to be served, at the office address as last given
                            by that person on any document filed in the cause and served on the party making
                   18       service; otherwise at that party's place of residence.
                   19           (BY ELECTRONIC MAIL):                By transmitting a true copy thereof to the
                            electronic mail addresses as indicated below.
                   20           (BY FACSIMILE): By transmitting an accurate copy via facsimile to the
                            person and telephone number as stated.
                   21           (BY CM/ECF SERVICE): I caused such document(s) to be delivered
                   22       electronically via CM/ECF as noted herein.
                                   I declare under penalty of perjury under the laws of the United States that the
                   23       above is true and correct and was executed on November 21, 2018, at Los Angeles,
                            California.
                   24
                   25
                                                                       Robin Mojica
                   26
                   27
                   28                                                 1
                                                            CERTIFICATE OF SERVICE
HINSHAW & CULBERTSON LLP                                                                       Case No. ______________
     11601 Wilshire Blvd.
          Suite 800                                                                                   302836352v1 1014387
    Los Angeles, CA 90025
        310-909-8000
                Case 2:18-cv-09831-MWF-MAA Document 1 Filed 11/21/18 Page 7 of 20 Page ID #:7



                     1                                   SERVICE LIST
                     2                     Simon Singh vs. Navient Solutions, Inc., et al.
                     3                              Case No. : ___________

                     4
                     5      Paul Mankin, Esq. (SBN 264038)           Attorneys for Plaintiff SIMON SINGH
                            Erin Rounds, Esq. (SBN 314457)
                     6      THE LAW OFFICE OF L. PAUL MANKIN
                            4655 Cass St, Suite 410
                     7      San Diego, CA 92109
                            Phone: (619) 3.12-6583
                     8      Fax: (323) 207-3885
                     9      Email: pmankin@panlmankin.com
                            erounds@paulmanldn.com
                   10
                   11
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                   22
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                   28                                            1
                                                            SERVICE LIST
HINSHAW & CULBERTSON LLP                                                                   Case No. ______________
     11601 Wilshire Blvd.
          Suite 800                                                                               302836352v1 1014387
    Los Angeles, CA 90025
        310-909-8000
                 Case 2:18-cv-09831-MWF-MAA Document 1 Filed 11/21/18 Page 8 of 20 Page ID #:8



                     1                   3.     The second cause of action in Plaintiff’s Complaint alleges
                     2      violations of a federal statute—namely, the TCPA. See Exhibit 1. Plaintiff’s action
                     3      therefore arises under federal law.
                     4                   4.     Accordingly, this Court has federal question jurisdiction over
                     5      Plaintiff’s TCPA claim.
                     6             B.    Supplemental Jurisdiction
                     7                   1.     Under 28 U.S.C. § 1367(a), “the district courts shall have
                     8      supplemental jurisdiction over all other claims that are so related to claims in the
                     9      action within such original jurisdiction that they form part of the same case or
                   10       controversy.”
                   11                    2.     Plaintiff’s first cause of action for alleged violations of the
                   12       RFDCPA relates to the same alleged loan/debt telephone communications, and is
                   13       based on the same set of factual allegations, as Plaintiff’s second cause of action
                   14       arising under the TCPA. Therefore, Plaintiff’s TCPA and RFDCPA claims are so
                   15       related that they form part of the same case or controversy.
                   16                    3.     Accordingly, this Court has supplemental jurisdiction over
                   17       Plaintiff’s RFDCPA claim.
                   18       III.   ALL PROCEDURAL REQUIREMENTS HAVE BEEN SATISFIED
                   19                    1.     28 U.S.C. § 1446(b) provides that “[t]he notice of removal of a
                   20       civil action or proceeding shall be filed within 30 days after receipt by the
                   21       defendant, through service or otherwise, of a copy of the initial pleading …” 28
                   22       U.S.C. § 1446(b).
                   23                    2.     This action was commenced in the Superior Court for the State
                   24       of California, County of Los Angeles, on October 11, 2018. NSL was served on
                   25       October 22, 2018. A copy of the Notice of Service of Process from NSL’s
                   26       registered agent is attached hereto as Exhibit 2. Removal of this action is timely as
                   27
                   28                                                   3
                                                               NOTICE OF REMOVAL
HINSHAW & CULBERTSON LLP                                                                         Case No. ______________
     11601 Wilshire Blvd.
          Suite 800                                                                                     302836352v1 1014387
    Los Angeles, CA 90025
        310-909-8000
                 Case 2:18-cv-09831-MWF-MAA Document 1 Filed 11/21/18 Page 9 of 20 Page ID #:9



                     1      this notice is being filed within thirty days of NSL being purportedly served with the
                     2      Complaint.
                     3                   3.     Additionally, venue properly lies in the Central District of
                     4      California because the Los Angeles County Superior Court where Plaintiff
                     5      commenced this action is located within this Court’s jurisdiction.
                     6                   4.     In accordance with 28 U.S.C. § 1446(d), written notice of the
                     7      filing of this removal notice will be given to Plaintiff following the filing of this
                     8      Notice of Removal, and will be promptly filed with the clerk of the Los Angeles
                     9      County Superior Court.
                   10                    5.     In submitting this Notice of Removal, NSL reserves all defenses,
                   11       including but not limited to the right to seek to compel arbitration.
                   12       IV.   CONCLUSION
                   13             WHEREFORE, NSL hereby removes this action from the Superior Court for
                   14       the State of California, County of Los Angeles, to the United States District Court
                   15       for the Central District of California.
                   16
                   17
                            DATED: November 21, 2018                        HINSHAW & CULBERTSON LLP
                   18
                   19                                                 By: s/Elvin I. Tabah
                                                                          DENNIS N. LUECK, JR.
                   20                                                     ELVIN I. TABAH
                                                                          Attorneys for Defendant NAVIENT
                   21                                                     SOLUTIONS, LLC f/k/a NAVIENT
                                                                          SOLUTIONS, INC.
                   22
                   23
                   24
                   25
                   26
                   27
                   28                                                   4
                                                               NOTICE OF REMOVAL
HINSHAW & CULBERTSON LLP                                                                         Case No. ______________
     11601 Wilshire Blvd.
          Suite 800                                                                                     302836352v1 1014387
    Los Angeles, CA 90025
        310-909-8000
Case 2:18-cv-09831-MWF-MAA Document 1 Filed 11/21/18 Page 10 of 20 Page ID #:10




                     EXHIBIT 1
Case 2:18-cv-09831-MWF-MAA Document 1 Filed 11/21/18 Page 11 of 20 Page ID #:11


                  , To: 13232073885 From: 10000627605 Date: 10/17/18 Time: 4:10 PM Page: 02
To: 13232073885                              From: (4422473714)                           10/17/18 04:10 PM    Page 2 oF 6
       '              To: 14422473751 From• 13232073885 Date: 10/11/18 Timp• 8:49 AM Page: 02/14




              1    Paul Mankin, Fsq. (S$N 264038)                                                   F0l.E®
                                                                                           Sup®rior Court of Calltomia
                   Erin Rounds (SBN 314457)                                                   Cotcniy of Los Angeles
              2
                   The Law Oflice of L. Paul Mankin
              3     4655 Cass St., Suite 410                                                    OCT 112018
                San Diego, CA 92109
              4 Phone: (619) 3.12-6583                                                   Sfierd   = l=/Clerk
                                                                                              rVlvw~
                Fax: (323) 207-3885                                                                ~. ~Y
              5                                                                                 Ricartlo rez
                pmanldn@paulmankin.c om
              6 erounds(a3paalmankin.com
                Attorney for Plaintiff
              ~
              s                     SUPERIOR COURT OF TIIE STATE OF CALdFORNIA
              9
                                          FOR THE COUNTY OF LOS ANGELES
                                               LIMITED 3URiSDICTION
             10

             II
                                                                            CaseNa. 18S T LG 128 9 0
             12     SIMON SINGgI, an lndividual,                        ) CONIPLAINT FOR VIOLATION
                                                                        ) OF ROSENTHAL X+'AIR D1EBT
             13     Plaintiff,                                          ) COLLECTIOEV PRACTICES ACTAND
                                                                        ) THE TELEPIIONE CONSUMER
             14
                            vs.                                         } PROTECTION ACT
             15                                                         }
                   NAVIENT SOLUTIONS, INC., and DOES )(Amoant not to exceed $10,e00)
             16    1 through 10, inclusive,          )
                                                     )   1. Violation of Rosenthai Fair Debt
             17
                   Defendant.                        ).      Colleciion Practices Act
             I8                                      )   2. Violation of Telephone Constuner
                                                     )       Protection Act
             19

             20

             21                                           I. INTRODUCTION
             22             1. This is an actiou for damages brought by an individual consumer for Defendant's
             23    I violations of the Rosenthal Fair Debt Collection Practices Act, Cal Civ Code § 1788, et seq.
             24
                   I(hereinafter "RFDCPA') and the Telephone Consumer Protection Act., 47 U.S.C. §227, et seq.
             25
                   I (hereinafter "TCPA").
             26

             27

             28




                                                                   Conwtaint • I

                                                             08:57:42 2018-10-11

                                                                  0pt-Out: Not DeFined



                                                                                                                   Page 5 - Exhibit 1
Case 2:18-cv-09831-MWF-MAA Document 1 Filed 11/21/18 Page 12 of 20 Page ID #:12




      1                                               II. PARTIES
      2
                  2.      Plaintiff, Simon Singh ("Plaintiff'), is a natural person residing in Los Angeles
      3
           County in the State of Califonua and is a"debtor" as defined by Cal Civ Code § 1788.2(h).
     4
                  3.      At all relevant times herein, Defendant, Navient Solutions, Inc. ("Defendant')
      5

      6    was a company engaged, by use of the mails and telephone, in the business of collecting a debt
      7    frora Plaintiff which qualifies as a"consumer debt," as defined by Cal Civ Code § I788.2(f).

      s Defendant regularly attempts to coIlect alleged debts, and therefore is a"debt collector" as
      9
          defined by the RFDCPA, Cal Civ. Code § 1788.2(c).
     lo
     It
                  4.      Plaintiff does not .know the true names and capacities, whether corporate,

     12    partnership, associate, individual or otherwise, of Defendants sued herein as Does 1 through 10,
     13
           inclusive, and therefore names said Defendants under provisions of Section 474 of the
     14
          Califomia Code of Civil Procedure.
     15
                  5.      Plaintiff is informed and believes, and on that ba.sis alleges that Defendants
     16

     17   Does I through 10 are in some manner responsible for acts, occurrences and transactions set

     18   forth herein and are legally liable to Plaintiff.
     19
                                          III. FACTUAL ALLEGATIONS
    20
                  6.      At various and multiple times prior to the filing of the instant complaint,
    21
          including within the one year preceding the filing of this complaint, Defendant contacted
    22

    23    Plaintiff in an attempt to collect an aileged outstanding debt.
    24            7.      Plaintiff has been receiving frequent calls from Defendant since approximately
    25
          I Febraary 2018.
    26

    27

    2s




                                                       Complaint - 2




                                                                                                 Page 6 - Exhibit 1
Case 2:18-cv-09831-MWF-MAA Document 1 Filed 11/21/18 Page 13 of 20 Page ID #:13




      1               8.        On information and belief, Plaintiff receives multiple calls in one day from
     2
              Defendant on multiple occasions, the intended purpose of wltich is to frustrate and annoy
      3
              Plaintiff.
     4
                      9.        Plaintiff told Defendant in or around March of 2018 to stop calling and informed
      5

     6        Defendant that it was contacting the wrong person. Plaintiff does not owe a debt to Defendant.
     7                10.       As such, Defendant has never had any lawful purpose to be contacting Plaintiff.
     s
                      11.       Rather than stopping calls as requested by Plaintiff, Defendant has continued to
     9
              place calls to Plaintiff.
    10

     lt               12.       Any continued calls could only have been placed to Plaintiff for the purpose of

    12        harassing him.
    13    I           13.       On information and belief, Defendant contacted Plaintiff using an automatic
    14
              telephone dialing system.
    15
                      14.       Defendant used an "automatic telepbone dialing system", as defined by 47
    16

    17        U.S C. § 227(a)(1), to place its repeated collection calls to Plaintiff seeking to collect debt
    ls        allegedly owed by a third party.
    19
                     15.        Plaintiff believes an automatic telephone dialing system was used to contact him
    20
              because when Plaintiff would answer Defendant's collection calls, Plaintiff was never able to
    21
              speak with a live representative after he would answer the telephone. Plaintiff would answer
    22

    23        the telephone and state a greeting but would not receive a response from Defendant. Atter
    24        several seconds of waiting for Defendant to state a response Plaintiff would disconnect the
    25
              telephone cail.
    26
                     16.        Defendant's calls constituted calls that were not for emergency purposes as
    27

    28
              defined by 47 U.S.C. § 227(b)(1)(A).




                                                           Complaint - 3




                                                                                                      Page 7 - Exhibit 1
Case 2:18-cv-09831-MWF-MAA Document 1 Filed 11/21/18 Page 14 of 20 Page ID #:14




                   17.     Defendant's calls were placed to telephone number assigned to a cellular

            telephone service for which Plaintiff incurs a charge for incoming calls pursuant to 47 U.S C. §

            227(b)(1).
                   18.     Since Plaintiffrequested that the calls stop and informed Defendant that the calls

            were unwanted, Defendant does not have express consent to contact Plaintiff on his celiular

            telephone using an automated telephone dialing system as Plaintiff has revoked whatever

           I consent previously existed.


                   19.     As a result of the above violations of the FDCPA, RFDCPA, and TCPA,

            Plainfiiff suffered and continues to suffer injury to Plaintiff s feelings, personal humiliation,

            embarrassment, mental anguish and emotional distress, and Defendant is liable to Plaintiff for
      13

      14   Plaintiffs actual damages, statutory damages, and costs and attomey's fees.
      is                             COUNT I: yIOLATION OF ROSENTHAL
                                   FAIR DEBT COLLECTION PRACTICES ACT
      16

      17           20.     Plaintiff reincorporates by reference all of the preceding paragraphs.

      18           21.     To the extent that Defendant's actions, counted above, violated the RFDCPA,
      19
           those actions were done knowingly and willfully.
      20
                   22.     Section 1788.17 of the Califonva Civil Code mandates that every debt collector
      21

      22
           I attempting to collect a consumer debt shall comply with § 1692b through § 1692j of the

      23   I FDCPA.
      24           23.     Defendant violated Cal. Civ. Code § 1788.17 when it violated the FDCPA for
      25
           I the reasons set forth in this Complaint.
      26

     27

     28




                                                        Complafnt - 4




                                                                                                    Page 8 - Exhibit 1
Case 2:18-cv-09831-MWF-MAA Document 1 Filed 11/21/18 Page 15 of 20 Page ID #:15




                    24.       Defendant's conduct violated the RFDCPA in multiple ways, including, but not

           I limited to:

                           a) Engaging in conduct the natural consequence of which is to harass, oppress, or
                              abuse Plaintiff (§ 1692d);

                           b) Attempting to collect any amount not authorized by the agreement creating the
                              debt or pernutted by law (§ 1692f(1));

                           c) Contacting a third party in an attempt to collect the alIeged debt (§ 1692b);

                           d) Causing a telephone to ring or engaging any person in telephone conversation
                              repeatedly or continuously with intent to annoy, abuse, or harass any person at
                              the called number {§ 1692d(5));

                    25.       As a result of the above violations of the RFDCPA and TCPA, Plaintiff suffered
      12
           I and continues to suffer injury to PlaintifPs feelings, personal humiliation, embarrassment,
      13
           I mental anguish and emotional distress, and Defendant is liable to Plaintiff for PIaintifPs actual
      14

      Is   I damages, statutory damages, and costs and attomey's fees.

      16       COUNT II: VIOLATION OF THE TELEPHONE CONSUMER PRACTICES ACT
      17
                    26.       Plaintiff incorporates by reference all of the preceding paragraphs.
      ls
                    27. The foregoing acts and omissions of Defendant constitute numerous and
      19
           multiple negligent violations of the TCPA, including but not limited to each and every one of
      20

      21   I the above cited provisions of 47 U.S.C. § 227 et seq.

      22            28.       As a result of Defendant's negligent violations of 47 U.S.0 § 227 et seq.,
      23
           Plaintiff is entitled an award of $500.00 in statutory damages, for each and every violation,
      24
           pursuant to 47 U.S.C. § 227(b)(3)(B).
      2s

      26
                    29. The foregoing acts and omissions of Defendant constitute numerous and

      27   multiple lmowing and/or willful violations of the TCPA, including but not limited to each and
      2s   every one of the above cited provisions of 47 U.S C. j' 227 et seq.



                                                          Complaint - 5




                                                                                                     Page 9 - Exhibit 1
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          1               30.    As a result of Defendant's knowing and/or willful violations of 47 U.S. C. § 227
          2
                et seq., Plaintiff is entitled an award of $1,500.00 in statutory damages, for each and every
          3
                violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.SC. § 227(b)(3)(C).
0
          4
                          31.    Plaintiff is entitled to and seek injunctive relief prohibiting such conduct in the
          5
          6     fature.
          7                                          PRAYER FOltt RELIEF
          s
                          1UHEREFORE, Plaintiff respectfully prays that judgment be entered against the
          9
                Defendant for the following:
         to
         11               A. All actual damages suffered pursuant to 15 U.S.C. § 1692k(a)(1);

         12               B. All reasonable attorneys' fees, witness fees, court costs and other Iitigation costs
                             incurred by Plaintiffpursuant to 15 U.S.C. § 1693k(a)(3);
         13

         14               C. All actual damages, statutory damages, reasonable attomey's fees and costs, and any
                             other litigation costs incurred by Plaintiff pursuant to the RFDCPA at Cal. Civ.
         15                  Code § 1788.17;
         16
                          D. Statutory damages of $500.00 per telephone call in violation of the TCPA pursuant
         17                  to 47 U.S.C. § 227(b)(3)(B);

         ls               E. Statutory damages of up to $1,500 for each call in violation of the TCPA, pursuant
                             to 47 U.S.C. §§ 227(c)(5)(B) and 227(c)(5)(C), which permits the Court in its
         19
                             discretion to award such damages if it finds that Defendant willfully or k.nowingly
         20                  violated the TCPA; and

         21               F. Any other relief deemed appropriate by this Court.
         22

         ~Az                       PLAINTIFF HEREBY REOUESTS A TRIAL BY JURY
         24 1                    Respectfially submitted this October 5, 2018
         25

         26
                                                        By:
         27                                                     Paul Mankin, Esq.
         28
                                                                Law Office of L. Paul Mankin
                                                                Attomey for Plaintiff



                                                              Complaint - 6




                                                                                                         Page 10 - Exhibit 1
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                     EXHIBIT 2
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                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 18861340
Notice of Service of Process                                                                            Date Processed: 10/22/2018

Primary Contact:           Matt R Sheldon
                           Navient Corporation
                           2001 Edmund Halley Drive
                           Reston, VA 20191

Electronic copy provided to:                   Jennifer Malloch

Entity:                                       Navient Solutions, Inc.
                                              Entity ID Number 3221398
Entity Served:                                Navient Solutions, Inc.
Title of Action:                              Simon Singh vs. Navient Solutions, Inc.
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Violation of State/Federal Act
Court/Agency:                                 Los Angeles County Superior Court, California
Case/Reference No:                            18STLC12890
Jurisdiction Served:                          California
Date Served on CSC:                           10/22/2018
Answer or Appearance Due:                     30 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Paul Mankin
                                              619-312-6583

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com




                                                                                                        Page 11 - Exhibit 2
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                     1                                CERTIFICATE OF SERVICE
                     2                         Simon Singh vs. Navient Solutions, Inc., et al.
                     3                                  Case No. : ___________

                     4      STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
                                   I am a citizen of the United States and employed in Los Angeles, California,
                     5      at the office of a member of the bar of this Court at whose direction this service was
                            made. I am over the age of 18 and not a party to the within actions; my business
                     6      address is 11601 Wilshire Blvd., Los Angeles, California 90025.
                     7             On November 21, 2018, I served the document(s) entitled, NOTICE OF
                            REMOVAL PURSUANT TO 28 U.S.C. §§ 1331, 1367, 1441, AND 1446, on the
                     8      interested parties in this action by placing true copies thereof enclosed in a sealed
                            envelope(s) addressed as stated below:
                     9                               SEE ATTACHED SERVICE LIST
                   10           (BY MAIL): I deposited such envelope in the mail at Los Angeles, California
                            with postage fully prepaid. I am readily familiar with this firm’s practice of
                   11       collection and processing correspondence for mailing. Under that practice it would
                            be placed for collection and mailing, and deposited with the U.S. Postal Service on
                   12       that same day with postage thereon fully prepaid at Los Angeles, California, in the
                            ordinary course of business. I am aware that on motion of party served, service is
                   13       presumed invalid if postal cancellation date or postage meter date is more than 1 day
                            after date of deposit for mailing in affidavit.
                   14           (VIA OVERNIGHT MAIL):                I am "readily familiar" with the firm's
                            practice of collection and processing correspondence for overnight delivery. Under
                   15       that practice it would be deposited in a box or other facility regularly maintained by
                            the express service carrier, or delivered to an authorized courier or driver authorized
                   16       by the express service carrier to receive documents, in an envelope or package
                            designated by the express service carrier with delivery fees paid or provided for,
                   17       addressed to the person on whom it is to be served, at the office address as last given
                            by that person on any document filed in the cause and served on the party making
                   18       service; otherwise at that party's place of residence.
                   19           (BY ELECTRONIC MAIL):                By transmitting a true copy thereof to the
                            electronic mail addresses as indicated below.
                   20           (BY FACSIMILE): By transmitting an accurate copy via facsimile to the
                            person and telephone number as stated.
                   21           (BY CM/ECF SERVICE): I caused such document(s) to be delivered
                   22       electronically via CM/ECF as noted herein.
                                   I declare under penalty of perjury under the laws of the United States that the
                   23       above is true and correct and was executed on November 21, 2018, at Los Angeles,
                            California.
                   24
                   25
                                                                       Robin Mojica
                   26
                   27
                   28                                                 1
                                                            CERTIFICATE OF SERVICE
HINSHAW & CULBERTSON LLP                                                                       Case No. ______________
     11601 Wilshire Blvd.
          Suite 800                                                                                   302836352v1 1014387
    Los Angeles, CA 90025
        310-909-8000
              Case 2:18-cv-09831-MWF-MAA Document 1 Filed 11/21/18 Page 20 of 20 Page ID #:20



                     1                                   SERVICE LIST
                     2                     Simon Singh vs. Navient Solutions, Inc., et al.
                     3                              Case No. : ___________

                     4
                     5      Paul Mankin, Esq. (SBN 264038)           Attorneys for Plaintiff SIMON SINGH
                            Erin Rounds, Esq. (SBN 314457)
                     6      THE LAW OFFICE OF L. PAUL MANKIN
                            4655 Cass St, Suite 410
                     7      San Diego, CA 92109
                            Phone: (619) 3.12-6583
                     8      Fax: (323) 207-3885
                     9      Email: pmankin@panlmankin.com
                            erounds@paulmanldn.com
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                                                            SERVICE LIST
HINSHAW & CULBERTSON LLP                                                                   Case No. ______________
     11601 Wilshire Blvd.
          Suite 800                                                                               302836352v1 1014387
    Los Angeles, CA 90025
        310-909-8000
